              Case 2:15-cv-00102-RSM Document 94 Filed 09/18/15 Page 1 of 9




1                                                           HONORABLE RICARDO S. MARTINEZ

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8                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF WASHINGTON
9                                         AT SEATTLE

10   UNITED STATES OF AMERICA,                           NO. 2:15-cv-00102 RSM
11                             Petitioner,               DECLARATION OF DANIEL A. ROSEN
                   v.                                    IN SUPPORT OF MICROSOFT’S BRIEF
12
                                                         REGARDING COMMON DEFENSES TO
13   MICROSOFT CORPORATION, et al.,                      ENFORCEMENT OF SUMMONSES

14                             Respondents.              NOTED FOR: November 6, 2015

15
     UNITED STATES OF AMERICA,                           NO. 2:15-cv-00103 RSM
16
                               Petitioner,
17
                   v.
18

19   CRAIG J. MUNDIE, et al.,

20                             Respondents.

21

22            I, Daniel A. Rosen, pursuant to 28 U.S.C. § 1746, declare as follows:

23            1.        I am an attorney at Baker & McKenzie, LLP. I am admitted to the practice of

24   law in New York and Connecticut, and have been admitted pro hac vice in these consolidated

25   cases.
                                                                                      LAW OFFICES
     DECLARATION OF DANIEL A. ROSEN - 1                                 CALFO HARRIGAN LEYH & EAKES LLP
     (Case Nos. 2:15-cv-00102 RSM & 2:15-cv-00103 RSM)                       999 THIRD AVENUE, SUITE 4400
                                                                             SEATTLE, WASHINGTON 98104
                                                                          TEL (206) 623-1700 FAX (206) 623-8717
            Case 2:15-cv-00102-RSM Document 94 Filed 09/18/15 Page 2 of 9




1           2.      Attached and marked as Exhibit 1 is a true and correct copy of the IRS’s

2    February 2014 Transfer Pricing Audit Roadmap, which was downloaded on September 16,

3    2015, from the IRS website (http://www.irs.gov/pub/irs-utl/FinalTrfPrcRoadMap.pdf).

4           3.      Attached and marked as Exhibit 2 is a true and correct copy of the IRS’s

5    “Proposed Timeline,” for its 2004-06 audit of Microsoft, which was prepared for discussion at

6    a July 12, 2012, conference.

7           4.      Attached and marked as Exhibit 3 is a true and correct copy of the IRS’s

8    “Updated Timeline” for its 2004-06 audit of Microsoft, which is dated January 31, 2013.

9           5.      Attached and marked as Exhibit 4 is a true and correct copy of the IRS’s

10   timeline for its 2004-06 audit of Microsoft, which is dated May 30, 2013.

11          6.      Attached and marked as Exhibit 5 is a true and correct copy of the client

12   testimonials page of Quinn Emanuel’s website (http://www.quinnemanuel.com/the-firm/client-

13   testimonials/), which was downloaded on July 10, 2015.

14          7.      In response to Microsoft’s questions regarding Quinn Emanuel’s conflicts of

15   interest, the IRS provided Microsoft with a copy of a memorandum from Quinn Emanuel

16   entitled “Ethical Screen Language” and dated September 24, 2014. Attached and marked as

17   Exhibit 6 is a true and correct copy of this memorandum.

18          8.      Attached and marked as Exhibit 7 is a true and correct copy of the Northern

19   District Court of California’s order granting a motion for sanctions in Apple, Inc. v. Samsung

20   Electronics., Ltd., No. 5:11-cv-01846-LHK (PSG), dated January 29, 2014.

21          9.      Attached and marked as Exhibit 8 is a true and correct copy of John S. Gordon’s

22   Notice of Appearance as counsel of record for defendants, filed in Apple Inc. v. Samsung

23   Electronics Co., Ltd., No. 11-cv-01846-LHK, and dated October 14, 2013.

24

25
                                                                                    LAW OFFICES
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               Case 2:15-cv-00102-RSM Document 94 Filed 09/18/15 Page 3 of 9




1              10.   Attached and marked as Exhibit 9 is a true and correct copy of John B. Quinn’s

2    Notice of Appearance as counsel of record for defendants, filed in Apple Inc. v. Samsung

3    Electronics Co., Ltd., No. 11-cv-01846-LHK, and dated July 29, 2012.

4              11.   In connection with a FOIA lawsuit filed on November 24, 2014, Microsoft

5    Corporation v. Internal Revenue Service, No. 1:14-cv-01982 (D.D.C.), the Department of

6    Justice produced a copy of the May 19, 2014, IRS-Quinn Emanuel Contract, bates stamped

7    Microsoft-FOIA-00169-229. Attached and marked as Exhibit 10 is a true and correct copy of

8    the IRS-Quinn Emanuel Contract that the Department of Justice produced to Microsoft.

9              12.   Attached and marked as Exhibit 11 is a true and correct copy of the May 13,

10   2015, letter from Senate Finance Committee Chairman Orrin G. Hatch to IRS Commissioner

11   John Koskinen.

12             13.   Attached and marked as Exhibit 12 is a true and correct copy of Internal

13   Revenue Manual (“IRM”) Part 4.46.4.

14             14.   Attached and marked as Exhibit 13 is a true and correct copy of IRM Part

15   1.2.13.

16             15.   Attached and marked as Exhibit 14 is a true and correct copy of IRM Part

17   32.2.2.

18             16.   I have reviewed the IRS’s quarterly Priority Guidance Plans (“PGPs”) issued

19   between the 2nd quarter of 2012 and the 3rd quarter of 2014, which was prior to the IRS’s

20   promulgation of the temporary regulation under 26 U.S.C. § 7602. Based on my review, the

21   PGPs do not include any reference to the planning or issuance of the temporary regulation 26

22   C.F.R. § 301.7602-1T. Copies of the PGPs are available online, at http://www.irs.gov/uac/

23   Priority-Guidance-Plan. Attached and marked as Exhibit 15 is a true and correct copy of the

24   IRS’s August 26, 2014, Priority Guidance Plan.

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                                                                                    LAW OFFICES
     DECLARATION OF DANIEL A. ROSEN - 3                               CALFO HARRIGAN LEYH & EAKES LLP
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              Case 2:15-cv-00102-RSM Document 94 Filed 09/18/15 Page 4 of 9




1             17.   In connection with a FOIA lawsuit filed on March 11, 2015, Microsoft

2    Corporation v. Internal Revenue Service, No. 2:15-cv-00369 (W.D. Wash.) (the “FOIA Case

3    No. 15-369”), the Department of Justice produced a March 28, 2014, email from William

4    Spatz to A M Gulas, bates stamped IRS-000534. Attached and marked as Exhibit 16 is a true

5    and correct copy of the March 28, 2014, email.

6             18.   In connection with FOIA Case No. 15-369, the Department of Justice produced

7    a May 30, 2014, email from A M Gulas to Tom Vidano, Linda Horowitz, Lisa Zarlenga, David

8    Hubbert, and &PA Green 1, carbon copy to Eileen Shatz, Gary Gray, William Spatz, A M

9    Gulas, &PA Green 2, Kirsten Witter, and William Conroy, bates stamped IRS-000967-977.

10   Attached and marked as Exhibit 17 is a true and correct copy of the May 30, 2014, email.

11            19.   Attached and marked as Exhibit 18 is a true and correct copy of select excerpts

12   of the Administrative Record for 26 C.F.R. § 301.7602-1 that the IRS produced in connection

13   with these consolidated cases.

14            20.   Attached and marked as Exhibit 19 is a true and correct copy of the “Our

15   Culture” section from Quinn Emanuel’s website (http://www.quinnemanuel.com/careers/our-

16   culture/why-work-here/), which was downloaded on July 10, 2015.

17            21.   Attached and marked as Exhibit 20 is a true and correct copy of John B.

18   Quinn’s biography from Quinn Emanuel’s website (http://www.quinnemanuel.com/attorneys/

19   quinn-john-b), which was downloaded on July 8, 2015.

20            22.   Attached and marked as Exhibit 21 is a true and correct copy of a December 12,

21   2014, Tax Analysts article, entitled IRS Budget Cuts ‘Will Be Visible’ in 2015, Koskinen

22   Warns.

23            23.   In connection with FOIA Case No. 15-369, the Department of Justice produced

24   a copy of the September 12, 2013, IRS-Boies Schiller Contract, bates stamped Microsoft-

25
                                                                                   LAW OFFICES
     DECLARATION OF DANIEL A. ROSEN - 4                              CALFO HARRIGAN LEYH & EAKES LLP
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               Case 2:15-cv-00102-RSM Document 94 Filed 09/18/15 Page 5 of 9




1    FOIA000001-61. Attached and marked as Exhibit 22 is a true and correct copy of the IRS-

2    Boies Schiller Contract the Department of Justice produced to Microsoft.

3              24.   Attached and marked as Exhibit 23 is a true and correct copy of an August 27,

4    2015, Law360.com article, entitled Tax Pros Question IRS Use of Microsoft Info at Hearing.

5              25.   Attached and marked as Exhibit 24 is a true and correct copy of IRM Part

6    4.25.12.

7              26.   Attached and marked as Exhibit 25 is a true and correct copy of IRM Part

8    4.48.1.

9              27.   Attached and marked as Exhibit 26 is a true and correct copy of IRM Part

10   4.41.1.

11             28.   Attached and marked as Exhibit 27 is a true and correct copy of IRM Part

12   4.25.12.

13             29.   Attached and marked as Exhibit 28 is a true and correct copy of IRM Part

14   4.46.3.

15             30.   Attached and marked as Exhibit 29 is a true and correct copy of the transcript of

16   the August 25, 2015, evidentiary hearing in these consolidated cases.

17             31.   In connection with FOIA Case No. 15-369, the Department of Justice produced

18   copies of the emails identified below, which illustrate the involvement of IRS TPO attorney

19   advisor Thomas Vidano in the drafting of the temporary regulation 26 C.F.R. § 301.7602-1T.

20   Attached and marked as Exhibit 30 are true and correct copies of emails identified below.

21                        Email Date Range                 Microsoft FOIA Document
                                                                  Numbers
22

23              June 11, 2013-August 22, 2013              IRS-000147-IRS-000150

24              September 4, 2013-November 14, 2013        IRS-0000269-IRS-000270

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                                                                                    LAW OFFICES
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            Case 2:15-cv-00102-RSM Document 94 Filed 09/18/15 Page 6 of 9




1            February 18, 2014-February 21, 2014           IRS-000449-IRS-000454
2
             March 19, 2014                                IRS-000494
3
             February 20, 2014-March 24, 2014              IRS-000495
4
             April 29, 2014-April 30,2014                  IRS-000782
5
             April 29, 2014-April 30, 2014                 IRS-000783
6
             May 8, 2014                                   IRS-000859
7
             May 8, 2014-May 9, 2014                       IRS-000860
8

9           32.     Attached and marked as Exhibit 31 is a true and correct copy of the Second

10   Declaration of Senior International Advisor Eli Hoory. Case No. 15-102, Dkt. # 40 (The same

11   declaration was filed in Case No. 15-103, Dkt. # 41, but is not attached as an exhibit).

12          33.     In September and October 2014, the IRS took the sworn, transcribed testimony

13   of numerous Microsoft employees. Quinn Emanuel lawyers were present for much of that

14   testimony, and regularly entered appearances, on the record, as representatives of the IRS.

15   Attached and marked as Exhibit 32 is a true and correct copy of a pertinent transcript excerpt,

16   which reflects Quinn Emanuel attorney John Gordon’s entry of appearance as a representative

17   of the IRS.

18          34.     Attached and marked as Exhibit 33 is a true and correct copy of IRS Fact Sheet

19   FS-2006-10, which was downloaded on September 16, 2015, from the IRS website

20   (http://www.irs.gov/uac/The-Examination-(Audit)-Process).

21          35.     Attached and marked as Exhibit 34 is a true and correct copy of IRS Publication

22   556, which was downloaded on September 16, 2015, from the IRS website (http://www.irs.

23   gov/pub/irs-pdf/p556.pdf).

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                                                                                     LAW OFFICES
     DECLARATION OF DANIEL A. ROSEN - 6                                CALFO HARRIGAN LEYH & EAKES LLP
     (Case Nos. 2:15-cv-00102 RSM & 2:15-cv-00103 RSM)                      999 THIRD AVENUE, SUITE 4400
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                                                                         TEL (206) 623-1700 FAX (206) 623-8717
            Case 2:15-cv-00102-RSM Document 94 Filed 09/18/15 Page 7 of 9




1           36.     Attached and marked as Exhibit 35 is a true and correct copy of IRS Publication

2    3114, which was downloaded on September 16, 2015, from the IRS website (http://www.irs.

3    gov/pub/irs-pdf/p3114.pdf).

4           37.     In connection with FOIA Case No. 15-369, the Department of Justice produced

5    an email chain, bates stamped IRS-000041, starting with a May 9, 2013, email regarding the

6    need “to open a reg file and get the project on the PGP grid” and partially redacted May 14,

7    2013, emails regarding other “options.” Attached and marked as Exhibit 36 is a true and

8    correct copy of the email chain.

9           38.     Attached and marked as Exhibit 37 is a true and correct copy of the Declaration

10   of Senior International Advisor Eli Hoory in Support of Petition to Enforce Internal Revenue

11   Service Summons. Case No. 15-102, Dkt. # 1-3.

12          39.     Attached and marked as Exhibit 38 is a true and correct copy of the Declaration

13   of Senior International Advisor Eli Hoory in Support of Petition to Enforce Internal Revenue

14   Service Summons filed in Microsoft Corporation v. Internal Revenue Service, No. 2:14-mc-

15   00134 (W.D. Wash.), Dkt. #1-3.

16          40.     Attached and marked as Exhibit 39 is a true and correct copy of the Declaration

17   of Senior International Advisor Eli Hoory in Support of Petition to Enforce Internal Revenue

18   Service Summons filed in Microsoft Corporation v. Internal Revenue Service, No. 2:14-mc-

19   00133 (W.D. Wash.), Dkt. #1-3.

20          41.     Attached and marked as Exhibit 40 is a true and correct copy of the “About Us”

21   section from Quinn Emanuel’s website (http://www.quinnemanuel.com/the-firm/about-us),

22   which was downloaded on September 16, 2015.

23          42.     Attached and marked as Exhibit 41 is a true and correct copy of John R. Luckey

24   et al., Cong. Research Serv., R40641, Inherently Governmental Functions and Department of

25   Defense Operations: Background, Issues, and Options for Congress (July 22, 2009).
                                                                                   LAW OFFICES
     DECLARATION OF DANIEL A. ROSEN - 7                              CALFO HARRIGAN LEYH & EAKES LLP
     (Case Nos. 2:15-cv-00102 RSM & 2:15-cv-00103 RSM)                    999 THIRD AVENUE, SUITE 4400
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                                                                       TEL (206) 623-1700 FAX (206) 623-8717
            Case 2:15-cv-00102-RSM Document 94 Filed 09/18/15 Page 8 of 9




1                                                        * * *

2           I declare under penalty of perjury under the laws of the United States of America that

3    the foregoing is true and correct.

4           Executed on this 18th day of September, 2015.

5
                                                  DANIEL A. ROSEN
6
                                                  /s/ Daniel A. Rosen
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                                                                                      LAW OFFICES
     DECLARATION OF DANIEL A. ROSEN - 8                                 CALFO HARRIGAN LEYH & EAKES LLP
     (Case Nos. 2:15-cv-00102 RSM & 2:15-cv-00103 RSM)                       999 THIRD AVENUE, SUITE 4400
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                                                                          TEL (206) 623-1700 FAX (206) 623-8717
            Case 2:15-cv-00102-RSM Document 94 Filed 09/18/15 Page 9 of 9




1                                    CERTIFICATE OF SERVICE
2
            I hereby certify that on September 18, 2015, I electronically filed the foregoing with the
3
     Clerk of the Court using the CM/ECF system which will send notification of such filing to the
4
     following:
5
     Hugh F. Bangasser                                    Mirelle R. Oldak
6    Hugh.bangasser@klgates.com                           Mireille.oldak@bakermckenzie.com

7    Philip S. Beck                                       Brian S. Prestes
     Philip.beck@bartlit-beck.com                         brian.prestes@bartlit-beck.com
8
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9    Sean.gallagher@bartlit-beck.com                      Daniel.rosen@bakermckenzie.com

10   George E. Greer                                      Stephen M. Rummage
     ggreer@orrick.com                                    steverummage@dwt.com
11
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     Amy Matchison                                        Robert B. Tannenbaum
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14   Robert B. Mitchell                                   Phillip J. Taylor
     Robert.mitchell@klgates.com                          phillip.taylor@bakermckenzie.com
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16   James.m.o’brien@bakermckenzie.com                    james.e.weaver@usdoj.gov

17                                                 CALFO HARRIGAN LEYH & EAKES LLP

18                                                 By:     s/ Patricia A. Eakes
                                                         Patricia A. Eakes, WSBA #18888
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21                                                       Fax: (206) 623-8717
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22
                                                   Attorneys for Respondent / Intervenor
23                                                 Microsoft Corporation
24

25
                                                                                    LAW OFFICES
     DECLARATION OF DANIEL A. ROSEN - 9                               CALFO HARRIGAN LEYH & EAKES LLP
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